Case 8:19-cv-00475-WFJ-SPF Document 90 Filed 08/01/19 Page 1 of 9 PageID 2063



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

ALVA JOHNSON, individually and on
behalf of all others similarly situated,

     Plaintiff,

v.                                                Case No. 8:19-cv-00475-T-02SPF

DONALD J. TRUMP,
in his individual capacity and
DONALD J. TRUMP FOR
PRESIDENT, INC.,

    Defendants.
__________________________________/

                        REPLY IN SUPPORT OF MOTION TO
                     REOPEN DISCOVERY FOR LIMITED PURPOSE

       Plaintiff Alva Johnson, through counsel, respectfully submits this Reply in support of her

motion to open discovery for the limited purpose of obtaining information and evidence

surrounding the provenance and authenticity of a video produced by Defendants that shows

Defendant Donald J. Trump’s interactions with Ms. Johnson at a campaign event in 2016.

I.     Introduction

       In Defendants’ Opposition To Plaintiff’s Motion To Reopen Discovery (“Opposition” or

“Opp.”), Defendants spill a lot of ink attacking the motives of Ms. Johnson and her attorneys. (Dkt.

89) But their 13-page Opposition elides the simple and central questions presented by the Motion.

Defendants could have provided answers that might have put this entire issue to rest—either as part

of the lengthy meet and confer that Ms. Johnson pursued or in response to the Motion. Instead,

they (1) put forth another untested declaration that generates more answers than questions, (2)

attack Ms. Johnson’s motives, (3) mischaracterize the video at issue, and (4) complain that there is

no operative complaint.


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Case 8:19-cv-00475-WFJ-SPF Document 90 Filed 08/01/19 Page 2 of 9 PageID 2064



        What they do not explain, however, speaks volumes. Most critically, they make no effort to

explain why there is a February 25, 2019 “Creation Date” on the metadata of a video that was filmed

in August of 2016 and produced to Ms. Johnson in July of 2019. Similarly, they do not tell the Court

how they obtained the video from Mr. Hayes. Nor do they state whether there are additional videos

or photographs possessed by Mr. Hayes from that same day. While they claim to put the issue to

rest with another declaration from Mr. Hayes that states that the video was not a clip of a larger

video, their failure to answer these simple questions, together with the underhanded manner in

which they handled the video in the first instance (stripping it of its metadata, splicing it into the end

of an 8.5 hour video and producing it on the eve of Ms. Johnson’s deposition), makes it difficult to

simply accept Mr. Hayes at his word. Perhaps Defendants are too embarrassed to tell the Court

when and how they obtained the video because it sheds light on unsavory (and potentially

sanctionable) discovery gamesmanship. Or, perhaps they have something more to hide. Either way,

something here is amiss.

        While Ms. Johnson will briefly address the arguments made by Defendants below, she asks

the Court to not lose sight of the unusual circumstances that brought us to this juncture, and

Defendants’ strident refusal to explain the facts surrounding the video and its use in this case.

II.     Discussion

        A.      The Discovery is Not Premature.

        Defendants claim that discovery regarding the video they produced is premature because

there is no operative complaint in this case. That ignores the practical realities of this case and

special circumstances at play here. Most notably, the Court has observed that Ms. Johnson’s case is

at an “inflection point,” and that she must make the difficult decision whether to proceed with her

battery case. And the reason that inflection point is occurring now—as opposed to before the

dismissal of the complaint—is because Defendants held on to a video that they appear to have had


                                                    2
Case 8:19-cv-00475-WFJ-SPF Document 90 Filed 08/01/19 Page 3 of 9 PageID 2065



since the inception of this lawsuit instead of producing it when they provided their Initial

Disclosures on May 17, 2019, as was required.

       Moreover, the absence of an operative complaint did not serve as an impediment to

Defendants pushing forward with written discovery, filing two motions to compel, and taking Ms.

Johnson’s deposition. In response to that aggressive litigation tactic, Ms. Johnson spent thousands

of dollars on locating and downloading Electronically Stored Information (ESI) and dedicated

significant time of several attorneys to review and produce over 5,000 pages of documents to

Defendants. Notwithstanding the dismissal without prejudice, this has been a very actively litigated

case, and there would be no prejudice to Defendants in allowing Ms. Johnson to get to the bottom

of the curious facts and questions surrounding the production of the video.

       B.      The video may or may not be full-length and unedited.

       Defendants spend less than one page of their 13-page brief arguing that the video is not

edited. They do not respond to the expert report other than to claim it is inadmissible—incorrectly

suggesting that expert disclosures would be required for a discovery motion. They do not attempt to

explain the anomalous “Creation Date” of February 25, 2019. Instead, they mischaracterize the

expert report as saying nothing about the authenticity of the video. In fact, Mr. Danner—whose

expert credentials and opinions are unrebutted—clearly stated that the difference in timestamps

“indicates that the video named ‘Exhibit A to Declaration of Brian Hayes’ was a video clip of

another video.” (Dkt. 85-3, at 4). This is not a definitive conclusion. But in light of the suspicious

circumstances surrounding the unexplained metadata and the belated production of the video, it is

enough to warrant some very limited discovery.

       C.      It is not clear what impact this discovery might have on the case.

       Having hidden evidence for months, Defendants now claim that this evidence determines

everything and it would be pointless to allow further discovery. Opp. at 8. While Ms. Johnson


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Case 8:19-cv-00475-WFJ-SPF Document 90 Filed 08/01/19 Page 4 of 9 PageID 2066



appreciates the Court’s concerns and view of the video, the fact is that context matters. Indeed,

Defendants repeatedly claim that Ms. Johnson’s immediate reaction after the kiss shows that the

interaction was not offensive to her. Opp. at 4, 8; see also Motion for Protective Order at 2-3 (Dkt.

73). . What happened before that? What happened after that? We do not know those answers

because Defendants will not even tell us if there are other videos taken in the RV on that day in their

possession or in Mr. Hayes’ possession. Instead, they carefully state that they have produced “all of

the video footage of the interaction between Plaintiff and Mr. Trump within Defendants’

possession, custody or control.” Opp. at 1 (emphasis in original). This carefully worded declaration

appears to exclude: (1) photographs of the interaction, (2) video or photographs in the possession or

control of Mr. Hayes, and (3) video or photographs taken immediately before and after the

interaction.

        Do the Defendants expect Ms. Johnson and the Court to believe that Mr. Hayes was

volunteering for Mr. Trump’s campaign, got to meet the candidate, and the only pictures or videos

who captured were of an interaction with Ms. Johnson? That is simply not credible.

        To be clear, Ms. Johnson does not know whether there is anything missing from the video.

She also does not know what other videos or photographs would show. But under these

circumstances—where Defendants seem to be going out of their way to avoid clearing the fog of

suspicion enveloping their handling of this video—she should be permitted to at least take Mr.

Hayes’ deposition and seek forensic examination of his iPhone.

        D.      The evidence indicates that Defendants did not timely produce the video.

        Defendants claim that their production of the video was timely because it was produced

before Ms. Johnson’s deposition. What they do not explain, however, is why they elected to bury the

video in over eight hours of other video footage. They also fail to explain why they did not produce

it sooner instead of literally the last business day before her deposition in the middle of the Fourth


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Case 8:19-cv-00475-WFJ-SPF Document 90 Filed 08/01/19 Page 5 of 9 PageID 2067



of July holiday. Nor do they tell the Court when they first obtained the video—which bears a

“Creation Date” of February 25, 2019.

        Defendants were required to provide a copy of this video or at least describe it with

sufficient specificity to alert Ms. Johnson to its existence in their initial disclosures. Fed. R. Civ. P.

26(a)(1).1 Instead, the closest they came was the following vague description which might generously

be construed to include the video: “Media of the relevant events of August 24, 2016 in Tampa,

Florida.” In addition to failing their obligations under Rule 26, Defendants evaded and delayed

responding to Plaintiffs’ discovery requests specifically seeking such video. Defendants finally served

responses to those requests on June 20, 2019—after Ms. Johnson agreed to three extensions of time

to respond. And they made their first document production on June 24, 2019, which consisted of

492 pages of documents, but no videos. Ironically, at this same time, defense counsel was pushing

Ms. Johnson to rapidly produce documents, and repeatedly asserted that her document production

should be completed at the same time that her responses and objections were served—which was

done without any extensions.

        The bottom line is this: defense counsel deliberately sandbagged the production of this video

in an attempt to surprise Ms. Johnson in her deposition. Ultimately, that worked, and Defendants

perfectly executed a scheme to keep the video from Ms. Johnson until they showed it to her at her




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 Blair v. TransAm Trucking, Inc., No. 09-2443-EFM-KGG, 2017 WL 2684296, at *2 (D. Kan. June
21, 2017) (“The disclosures required by Rule 26 are intended to provide sufficient detail and clarity
to permit the receiving party to make informed decisions about the discovery necessary to address
the specific claims directed against that party, and to prepare for trial.” (internal citations omitted));
Sender v. Mann, 225 F.R.D. 645, 650 (D. Colo. 2004) (“Initial disclosures should be complete and
detailed” (internal citations omitted)); 2P Commercial Agency S.R.O. v. SRT USA, Inc., No. 2:11-CV-
652-FtM-29SPC, 2012 WL 1660614, at *1 (M.D. Fla. May 11, 2012) (stating that Rule 26 requires
“the Defendant to state the location of any documents or electronic production disclosed under the
Rule”).
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Case 8:19-cv-00475-WFJ-SPF Document 90 Filed 08/01/19 Page 6 of 9 PageID 2068



deposition.2 The facts show that Defendants did not produce the video in a timely manner. Instead,

they played games with discovery, which casts a shadow on the provenance of the video.

       E.      Arguments about the supposed political nature of this lawsuit are a

distraction.

       Defendants spill a lot of ink repeating their assertions that this is a political lawsuit. Opp. at

2, 3, 11, 12. This is nonsense. Ms. Johnson was a genuine supporter of President Trump for almost a

full year and worked hard to get him elected. After she left the campaign, Ms. Johnson continued to

work in Republican politics. Likewise, both opt-in Plaintiffs−Omarosa Manigault Newman and

Corina Cotenescu−have been vocal supporters of President Trump and other Republican political

causes in recent years. In fact, in 2018, Ms. Cotenescu sought election to the New York State

Assembly for District 69, running as a Republican.

       The primary support for this argument are campaign contributions made by Ms. Johnson’s

counsel. The fact that Ms. Johnson’s counsel are Democrats and contribute to Democratic

candidates proves only that they are Democrats and contribute to Democratic candidates. Mr.

Harder donated $500 to the 2016 senate campaign of Kamala Harris, and his partners made

numerous contributions to other prominent democrats, including Beto O’Rourke, Joe Donnelly,

Claire McCaskill and Heidi Heitcamp. Does this show that he cannot adequately represent President

Trump? Of course not. This silliness about this being a politically motivated lawsuit is pure




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 At that time Ms. Johnson’s counsel expressed alarm that the video had not been produced before
the deposition. Factually, Ms. Johnson’s counsel was incorrect. The video was produced as part of
the 8.5 hour video that was served on July 5, 2019. The apology referenced by Defendants’ in their
opposition was offered as professional courtesy because Ms. Johnson’s counsel incorrectly believed
the video had not been produced at all. He was incorrect in that regard and he felt he owed an
apology for that. But that does not in any excuse the discovery games played by Defendants who
appear to have had this video for the entire duration of the case but failed to produce it in a timely
manner.
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Case 8:19-cv-00475-WFJ-SPF Document 90 Filed 08/01/19 Page 7 of 9 PageID 2069



speculation that has nothing to do with the merits of the issues before the Court. It should not even

be entertained by the Court.3

        In any event, numerous courts, including in this District, have found that speculation as to a

party’s motives based on an opponent’s unsupported allegations is improper. See, e.g., Sec. & Exch.

Comm’n v. Nodurft, 2009 WL 10671156, at *2 (M.D. Fla. June 17, 2009) (citing United States v. Potes

Ramirez, 260 F.3d 1310, 1314 (11th Cir. 2001)) (“Defendant has utterly failed to demonstrate any

improper motives on the part of Plaintiff … All Defendant offers is the unsubstantiated and

unverified representations and conclusions of defense counsel which this Court is precluded from

relying on in making a determination of fact.”); see also Smith v. Gribertz, 887 F. Supp. 583, 589

(S.D.N.Y. 1995) (“Plaintiff has not made any more specific allegations that would lead us to

conclude that the District Attorney’s prosecution of plaintiff is improperly motivated by political

concerns. Certainly, we should not interfere … on the basis of plaintiff’s conclusory contention.”) In

fact, a plaintiff’s motives for bringing suit are almost never relevant in any context. See, e.g., Smith v.

Specialty Pool Contractors, 2009 WL 799748, at *5 (W.D. Pa. Mar. 25, 2009) (“Impugning

the Plaintiff’s motive for bringing this lawsuit does nothing to rebut the merits of the claim”); Dargan

v. Ingram, 2009 WL 1437564, at *6 (W.D. Wash. May 22, 2009) (“Both defendants

question plaintiff’s motives for bringing the present action … Defendants’ unsupported

assumptions and personal attacks against plaintiff are irrelevant and unpersuasive”); Mercer v. Duke

Univ., 401 F.3d 199, 205 (4th Cir. 2005) (“…the subjective motives of the plaintiff are not relevant

to determining whether the plaintiff is a prevailing party”); Innovation Ventures, LLC v. N2G Distrib.,

Inc., 763 F.3d 524, 542 (6th Cir. 2014) (“Plaintiff’s motive in bringing this case was all



3
 Defendants also try to make much of Ms. Johnson’s private emails to friends indicating that she
wants to prevent Mr. Trump from being reelected. Again, what does that prove? Of course she does
not want the man who she believes committed battery against her to serve as the President of the
United States.
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Case 8:19-cv-00475-WFJ-SPF Document 90 Filed 08/01/19 Page 8 of 9 PageID 2070



but irrelevant…”); Sierra Club v. Union Elec. Co., 2015 WL 9583394, at *5 (E.D. Mo. Dec. 31, 2015)

(“The Court agrees with Plaintiff that discovery relating to Plaintiff’s alleged motive for bringing this

lawsuit … is irrelevant to any issue in this case”); Blank v. Sullivan & Cromwell, 418 F. Supp. 1, 4

(S.D.N.Y. 1975) (“the court’s ruling that the motive of plaintiff in bringing the action is irrelevant is

consistent with well-settled law”); Lee v. Kucker & Bruh, LLP, 2013 WL 680929, at *2 (S.D.N.Y. Feb.

25, 2013) (“The motivation of the plaintiff in bringing suit is irrelevant to an alleged violation by the

defendants of the FDCPA”); Samsung Elecs. Co. v. NVIDIA Corp., No. 3:14CV757, 2016 WL 754547,

at *2 (E.D. Va. Feb. 24, 2016) (“a plaintiff’s motive for bringing suit is irrelevant, except in the face

of certain equitable defenses, bad faith, or questions of witness bias.”); Access 4 All, Inc. v. Atl. Hotel

Condo. Ass’n, Inc., 2005 WL 5632057, at *7 (S.D. Fla. Aug. 17, 2005) (“Putting aside this Plaintiff’s

motives, ultimately this case will be decided upon whether Defendants’ facility complies with the

ADA”).

III.     Conclusion

         Ms. Johnson does not know what additional discovery will show. But something strange is

going on with this video. Defendants still will not explain when they obtained the video or why it

has metadata indicating it was created on same day this lawsuit was filed. But she should be allowed

to at least seek limited discovery of Mr. Hayes to try to get answers to her simple questions.



Dated:          August 1, 2019                    Respectfully Submitted,


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                                                     8
Case 8:19-cv-00475-WFJ-SPF Document 90 Filed 08/01/19 Page 9 of 9 PageID 2071



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                                      9
